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PROB 12C
(REv. 12/04)
                                                                                                   FILED
                              UNITED STATES DISTRICT COURT
                                                                                                                2019

                                                            for                                             iSST COURT
                                          WESTERN DISTRICT OF TEXAS


                  Petition for Warrant or Summons for Offender Under Supervision                                 V


   Name of Offender:       Jose Hernandez                                    Case Number:        SA19CRO175-OLG
   Name of Sentencing Judicial Officer:       Honorable Thomas J. Whelan, Senior United States District Judge
   Date of Original Sentence:     February 13, 2017
   Original Offense:       Importation of Methamphetamine, in violation of Title 21 U.S.C.           952 and 960
   Original Sentence:      Forty-Six (46) months imprisonment followed by three (3) years supervised release
 Type of Supervision: Supervised Release                 Date Supervision Commenced:         November 7, 2018
   Assistant U.S. Attorney:     Lindsey Forrester Archer           Defense Attorney:      Hootan Baigmohammadi

                                             PREVIOUS COURT ACTION

On February 12, 2019, Jurisdiction was transferred from the Southern District of California, San Diego Division to the
Western District of Texas, San Antonio Division.

On April 5, 2019, a Probation Form 1 2A-Report on Offender Under Supervision was filed with the Court reporting drug use
and failure to submit to drug testing. The offender was placed into a co-occurring treatment program and urinalysis testing
was increased.

On July 19, 2019, a Probation Form 1 2B-Request for Modif'ing the Conditions or Term of Supervision with Consent of the
Offender was filed with the Court due to the offender having been arrested for Driving While Intoxicated-Open Container.
The offender's conditions were modified to include: DWJ Impact Panel Program, DWI Education Program, shall not use or
possess alcohol and Ignition Interlock on offender's vehicle for three months.

                                             PETITIONING THE COURT

      To issue a warrant
 EJ   To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:


 Violation Number          Nature of Noncompliance
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        1.             Mandatory Condition No. 1: The defendant shall not commit another federal, state, or
                       local crime during the term of supervision.

                       On July 4, 2019, Mr. Hernandez was arrested by the Elmendorf Police Department for Driving
                       While Intoxicated-Open Container(misdemeanor). He was released on bond and is pending a
                       docket appearance in Bexar County Court at Law #15. The offender reported to the U.S.
                       Probation Officer and admitted use of alcohol on July 4, 2019, and signed the Admissions/Denial
                       Choice form. The offense report indicates the offender was asleep in his vehicle on the side road
                       with the keys in the ignition. Upon making contact the police officer observed the offender to
                       have a strong odor of intoxicant and the offender admitted to have been drinking to the police
                       officer.

                       On October 3, 2019, Mi. Hernandez was arrested by San Antonio Police Department for
                       Possession With Intent to Distribute a Controlled Substance, to wit 500 grams or more of a
                       mixture or substance. The defendant appeared before Judge Elizabeth Chestney, on October 4,
                       2019, case SAl 9-MJ-0 1151 and is scheduled for a preliminary/detention hearing on October 18,
                       2019. He remains in the custody of the U.S. Marshals. The offense report indicates the offender
                       was part of an ongoing narcotics investigation. Officers made contact with the offender because
                       of a traffic stop. He had no valid insurance on the vehicle. The K9 alerted officers to the rear of
                       the vehicle near the spare tire and methamphetamine was found.

                       Mandatory Condition: The defendant shall not illegally possess a controlled substance.
                       The defendant shall refrain from any unlawful use of a controlled substance. The
        2.             defendant shall submit to one drug test within 15 days of release from imprisonment
                       and at least two periodic drug tests thereafter as determined by the court. Testing
                       requirements will not exceed submission of more than 8 drug tests per month during
                       the term of supervision, unless otherwise ordered by the court.

                       Standard Condition No. 7: The defendant shall refrain from excessive use of alcohol
                       and shall not purchase, possess, use, distribute, or administer any controlled substance
        3.             or any paraphernalia related to any controlled substance, except as prescribed by a
                       physician.

                       On February 12, 2019, Mr. Hernandez was arrested by the Elmendorf Police Department for
                       Driving While Intoxicated Open Container, a Misdemeanor. He admitted to consuming alcohol
                       on July 4, 2019.


                       On March 3, 2019, the offender provided a urinalysis, which resulted in positive for cocaine. On
                       March 11, 2019, Mr. Hernandez reported to the probation office and admitted to the use of
                       cocaine. Mr. Hernandez signed the Admission/Denial Choice form.

                       On October 3, 2019, Mr. Hernandez was arrested by the San Antonio Police Department for
                       Possession With Intent to Distribute a Controlled Substance.
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         4.               Special Condition No. 5: Participate in a program of drug or alcohol abuse treatment,
                          including drug testing and counseling, as directed by the probation officer. Allow for
                          reciprocal release of information between the probation officer and the treatment
                          provider. May be required to contribute to the costs of services rendered in an amount
                          to be determined by the probation officer, based on ability to pay.

                         On December 21, 2018 and July 19, 2019, Mr. Hernandez failed to report to Treatment Associates
                         for a random urinalysis.

        5.               Special Condition: The defendant shall have an ignition interlock device installed on his
                         vehicle for a period of three months (90 days), shall abide by all conditions and
                         requirements of the ignition interlock system program, and shall not disconnect the ignition
                         interlock system without prior permission of the probation officer. The defendant shall be
                         prohibited from driving other vehicles without the interlock system and without prior
                         permission of the probation officer. The defendant shall pay for all costs of the ignition
                         interlock system.

                         On October 3, 2019, the offender was arrested for Possession With Intent to Distribute a
                         Controlled Substance. According to the offense report, the offender was pulled over while driving
                         a 2004 Jeep SUV. The offender had the Ignition Interlock device installed in his 1996 Chevy
                         Silverado and was prohibited from driving other vehicles without the interlock system.
        7.
                         Special Condition: The defendant shall pay for and participate in the DWI Victim Impact
                         Panel Program and shall comply with all rules of the program.

                         The defendant failed to complete the DWI Victim Impact Panel Program.

        8.               Special Condition: The defendant shall successfully complete a State Certified DWI
                         Education Program approved by the U.S. Probation Officer.

                         The defendant failed to complete the DWI Education Program.


U.S. Probation Officer Recommendation: On November 7, 2018, Mr. Hernandez commenced his three (3) year term
of supervised release. He began drinking alcohol when he was seventeen years old and has a substance abuse history to
include cocaine, crack cocaine, marijuana and methamphetamines. Since being placed on supervision, Mr. Hernandez
was referred to and completed substance abuse treatment and testing. He tested positive for cocaine, admitted to alcohol
consumption, and was referred to co-occurring treatment. He successfully completed the treatment program. He also
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was on urinalysis testing, has been given breath tests, and was on the Ignition Interlock at the time of his arrest for the
new offense.

Despite the Court's previous leniency, the offender continues to violate his conditions of release. Therefore, we
respectfully recommend a warrant of arrest be issued to show cause as to why his term of supervised release should be
revoked.

                The term of supervision should be

                             revoked. (Maximum penalty:       years imprisonment; Up to Life supervised release;
                                       and payment of any unsatisfied monetary sanction previously imposed)

                    0        extended for   years, for a total term of   years.

                The conditions of supervision should be modified as follows:

Approved:                                                  Respectfully submitted,




Tr cyL.    'a                                              Cynthia A. Gonzalez
                 .S. Proba  n Officer                      U.S. Probation Officer
Telephone:              -6590, Ext. 5317                   Telephone: (210)472-6590, Ext. 5379
                                                           Date: October 10, 2019
cc:   Daphne Newaz
      Assistant U.S. Attorney

      Brenda Trejo-Olivarri
      Assistant Deputy Chief U.S. Probation Officer


THE COURT ORDERS:
       0             No action.
                     The issuance of a warrant.
       0             The issuance of a summons.
       0             Other




                                                                         Honorable Orlando Garcia
                                                                         Chief U.S. District Judge
                                                                               --   -
